STATE OF TENNESSEE

Office of the Attorney General

 

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May 19, 2023
Via Hand-Delivery

Office of the Clerk

United States District Court
Middle District of Tennessee
719 Church Street, Suite 1300
Nashville, TN 37203

RE: LW, etal. vs. Skrmetti, et al.
3:23-cv-376

Dear Clerk:

Pursuant to Administrative Order No. 205, please accept for conventional filing in the above-
referenced matter the enclosed flash drive containing the following exhibits to Docket Entry No.
113 (Notice of Filing in reference to Defendants’ Response in Opposition to Plaintiffs’ Motion for
a Preliminary Injunction to be filed May 19, 2023):

Exhibit 1-B Brady, C., Cyperski, M., Romano, M., PATH to Affirmative
Medical Care for Transgender/Gender Diverse (TGD) Youth

Exhibit 1-D Video of Shayne S. Taylor, M.D., Medicine Grand Rounds, 2018

Exhibit 1-E Video of Ellen W. Clayton, M.D.

Exhibit 1-G Taylor, Shayne S., Caring for the Transgender Patient: With little

evidence, but a lot of love.

If you have any questions, please do not hesitate to let me know.

Sincerely,

/s/ Rvan N. Henr

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